Case 2:21-bk-16674-ER       Doc 192 Filed 04/25/22 Entered 04/25/22 08:12:27                   Desc
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                                                                   FILED & ENTERED

                                                                          APR 25 2022

                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
                                                                     BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:     Jinzheng Group (USA) LLC,            Case No.: 2:21-bk-16674-ER
            Debtor.                              Chapter: 11
                                                 ORDER OVERRULING DEBTOR’S
                                                 OBJECTION TO CLAIM NO. 17-1
                                                 WITHOUT PREJUDICE
                                                 [RELATES TO DOC. NO. 113]

                                                 Date:       March 30, 2022
                                                 Time:       10:00 a.m.
                                                 Location:   Courtroom 1568
                                                             Roybal Federal Building
                                                             255 East Temple Street
                                                             Los Angeles, CA 90012

   At the above-captioned date and time, the Court conducted a hearing on the Objection to
Proof of Claim No. 17 of the Phalanx Group [Doc. No. 113] (the “Claim Objection”) filed by the
Debtor. Good cause appearing therefor, the Court HEREBY ORDERS AS FOLLOWS:

   1) The tentative ruling [Doc. No. 173] is adopted as the final ruling (the “Ruling”) and is
      incorporated herein by reference. The findings supporting the entry of this Order are set
      forth in the Ruling.
   2) The Claim Objection is OVERRULED. Claim No. 17-1, asserted by the Phalanx Group,
      is allowed as an unsecured claim in the amount of $158,845.
   3) This Order is without prejudice to the Debtor’s ability to file a renewed objection to
      Claim No. 17-1 after conducting further discovery.
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   IT IS SO ORDERED.
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    Date: April 25, 2022
